                        3:18-cv-03242-SEM-TSH # 33            Page 1 of 2
                                                                                                       E-FILED
                                                                        Thursday, 16 May, 2019 09:11:51 AM
                                                                              Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

STEVEN F. KELLMANN, #R-05559                  )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       No. 18-3242
                                              )
JOHN R. BALDWIN, et al.,                      )
                                              )
               Defendants.                    )

                                  NOTICE OF APPEARANCE

       NOW COMES Kwame Raoul, Attorney General of the State of Illinois, by Kathryn Boyle,

Assistant Attorney General, State of Illinois, and hereby enters her appearance as counsel on behalf

of Defendant, ALEX BANTA, in the above cause.

                                              Respectfully submitted,

                                              ALEX BANTA,

                                                      Defendant,

                                              KWAME RAOUL, Attorney General,
                                              State of Illinois

Kathryn Boyle, #6329471                               Attorney for Defendant,
Assistant Attorney General
500 South Second Street                       By: s/ Kathryn Boyle
Springfield, IL 62706                                Kathryn Boyle
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                        3:18-cv-03242-SEM-TSH # 33             Page 2 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

STEVEN F. KELLMANN, #R-05559                    )
                                                )
               Plaintiff,                       )
                                                )
       v.                                       )       No. 18-3242
                                                )
JOHN R. BALDWIN, et al.,                        )
                                                )
               Defendants.                      )

                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 16, 2018, the foregoing document, Notice of Appearance, was
electronically filed with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

                                                NONE

and I hereby certify that on the same date, I caused a copy of the foregoing described document to
be mailed by United States Postal Service, in an envelope properly addressed and fully prepaid, to
the following non-registered participant:
                                  Steven F. Kellmann, #R-05559
                                   Menard Correctional Center
                                       Inmate Mail/Parcels
                                          PO Box 1000
                                        Menard, IL 62259



                                                Respectfully Submitted,

                                                s/ Kathryn Boyle
                                                Kathryn Boyle, #6329471
                                                Assistant Attorney General
                                                500 South Second Street
                                                Springfield, Illinois 62706
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